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   UNITED STATES DISTRICT COURT
   MIDDLE DISTRICT OF PENNSYLVANIA
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UNITED STATES OF AMERICA,

                                                                Plaintiff,    NOTICE OF APPEARANCE

                                -against-                                     NO.1:21-CR-026

ROHAN LYTTLE

                                                             Defendants.

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                     PLEASE TAKE NOTICE, that I represent defendant, ROHAN LYTTLE, in the

   above-referenced case. I am not admitted to practice in this district and will file an application

   for Pro Hoc Vice admission on this matter. I respectfully request this Court accept this Notice

   for Mr. Lyttle’s arraignment and that the Clerk of the Court note my appearance in this case and

   add me as a Filing User to whom Notices of Electronic Filing will be transmitted in this case.



   Dated:            Brooklyn, New York
                     March 31, 2021

                                                         Respectfully submitted,



                                                         ____s/___________________________
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